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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


  THE DAILY WIRE, LLC et al.,

                  Plaintiffs,

          v.                                                  Civil Action No. 6:23-cv-00609 (JDK)

  UNITED STATES DEPARTMENT
  OF STATE et al.,

                  Defendants.


   JOINT MOTION TO EXTEND PLAINTIFFS’ DEADLINE TO RESPOND TO
   MOTION TO TRANSFER AND DEFENDANTS’ DEADLINE TO RESPOND
             TO MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A) and Local Rule CV-7(e), the parties

  respectfully submit this joint motion to extend Plaintiffs’ deadline to respond to Defendants’

  motion to transfer venue, ECF No. 14, and Defendants’ deadline to respond to Plaintiffs’

  motion for preliminary injunction, ECF No. 11. For the reasons below, good cause exists to

  grant this joint request.

      1. This action commenced on December 6, 2023. See Complaint, ECF No. 1. The

  Complaint alleges that Defendants are “actively intervening in the news-media market to

  render disfavored press outlets unprofitable by funding the infrastructure, development, and

  marketing and promotion of censorship technology and private censorship enterprises.” Id. ¶

  1. The Complaint raises claims under the First Amendment (Counts I and II), as well as claims

  alleging unlawful agency action beyond Constitutional and statutory authority (Counts III-V).

      2. There are four motions pending before this Court:

              Defendants’ motion to transfer venue. See ECF No. 14 (filed on February 9, 2024).

               Defendants seek to transfer this matter to the United States District Court for the

               District of Columbia. Id. at 1. In support, Defendants argue that (1) venue cannot

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             be predicated on the State of Texas’s presence as a Plaintiff because Texas lacks

             Article III standing, and (2) even if Texas had Article III standing, the Complaint

             fails to demonstrate that any party resides in this District or that a substantial part

             of the actions giving rise to any claims arose in this District. See id. Plaintiffs’

             response is currently due by February 23, 2024; Defendants’ reply is currently due

             by March 1, 2024. See LR CV-7(e).

            Plaintiffs’ consent motion for leave to exceed the page limit for their memorandum

             in support of motion for preliminary injunction. See ECF No. 10 (filed on
             February 6, 2024). This motion is unopposed.

            Plaintiffs’ motion for preliminary injunction. See ECF No. 11 (filed on February

             6, 2024). Plaintiffs seek to preliminarily enjoin Defendants from “continuing to

             fund, test, market, promote, host on its platform, and/or otherwise assist with or

             encourage the development or use of technology that targets in whole, or in part,

             Americans’ speech or the American press.” See id. at 2. Defendants’ response is

             currently due within fourteen days from the date the Court rules on Plaintiffs’

             motion for leave to exceed their page limit for their motion for preliminary

             injunction. See LR CV-6(k) (“The time for filing any responsive documents will

             run from the date of the order on the motion for leave.”); see also LR CV-7(e).

            Plaintiffs’ motion for expedited preliminary-injunction-related discovery. See ECF

             No. 13 (filed on February 7, 2023). Plaintiffs seek authorization to conduct

             discovery in support of their motion for preliminary injunction. Defendants’

             response is currently due by February 21, 2024; Plaintiffs’ reply is currently due by

             February 28, 2024. See LR CV-7(e).

     3. The parties have conferred and jointly request that the Court extend the deadlines for

  Defendants’ motion to transfer venue and for Plaintiffs’ motion for preliminary injunction as

  follows:



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                March 15, 2024 – Plaintiffs’ opposition to Defendants’ motion to transfer and
                 Defendants’ opposition to Plaintiffs’ motion for preliminary injunction;

                April 5, 2024 – Defendants’ reply in support of their motion to transfer venue
                 and Plaintiffs’ reply in support of their motion for preliminary injunction.
     4. Good cause exists to grant this extension. The parties have conferred and agree to

  this modified briefing schedule, which will allow sufficient time to prepare appropriate

  responses and which factors in existing deadlines in other litigation matters as well as pre-

  scheduled annual leave for some of the undersigned counsel as well as counsel from the

  Department of State who are involved in this matter.

     5. This extension would not impact any other existing deadlines in this matter. That is,

  it would not impact Defendants’ February 21, 2024 deadline to respond to Plaintiffs’ motion

  for expedited preliminary-injunction related discovery. Nor would it impact Defendants’

  March 28, 2024 deadline to respond to the Complaint. See ECF No. 15.

         Accordingly, the parties respectfully request that the Court enter their agreed-upon

  modified briefing schedule for Defendants’ motion to transfer venue and for Plaintiffs’ motion

  for preliminary injunction. A proposed order is attached.


  Dated: February 13, 2024                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE
          I hereby certify that on February 13, 2024, I electronically filed the foregoing paper
  with the Clerk of Court using this Court’s CM/ECF system, which will notify all counsel of
  record of such filing.
                                                    /s/Cristen C. Handley
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                           CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for all of the parties have conferred and agree upon this
  motion.


                                                    /s/Cristen C. Handley
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                                                    U.S. Department of Justice




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